           19-11633-mg            Doc 1          Filed 05/20/19           Entered 05/20/19 22:49:24                    Main Document
                                                                         Pg 1 of 20


Fill in this information to identify the case:

United States Bankruptcy Court for the:
Southern                      District of New York
                                             (State)
                                                                                                                                 Check if this is an
Case number (if known): 19-                              Chapter 11                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                    04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1. Debtor’s name                       Aegerion Pharmaceuticals Holdings, Inc.



2. All other names debtor              N/A
    used in the last 8 years
    Include any assumed names,
    trade names and doing
    business as names




3. Debtor’s federal                    XX-XXXXXXX
    Employer Identification
    Number (EIN)


4. Debtor’s address                    Principal place of business                        Mailing address, if different from principal place of
                                                                                          business

                                       245 First Street, Riverview II
                                       Number        Street                               Number      Street

                                       18th Floor
                                                                                          P.O. Box

                                       Cambridge              MA             02142
                                       City                   State         ZIP Code      City                        State     ZIP Code

                                                                                          Location of principal assets, if different from principal
                                       Middlesex                                          place of business
                                       County
                                                                                          See Attachment A
                                                                                          Number      Street




                                                                                          City                        State     ZIP Code


5. Debtor’s website (URL)              N/A

6. Type of debtor                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 1
Debtor
         19-11633-mg      Doc 1 Filed 05/20/19
         Aegerion Pharmaceuticals Holdings, Inc.
                                                                           Entered 05/20/19 22:49:24   Main Document
                                                                                              Case number (if known) 19-
          Name                                                            Pg 2 of 20

7. Describe debtor’s                   A. Check one:
   business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above


                                       B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                       § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                          3254


8. Under which chapter of              Check one:
   the Bankruptcy Code is
   the debtor filing?                     Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                               Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders
                                                               or affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and
                                                               every 3 years after that).
                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet, statement of
                                                               operations, cash-flow statement, and federal income tax return or if all of these
                                                               documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               A plan is being filed with this petition.
                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                               Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                          Chapter 12


9. Were prior bankruptcy                  No
   cases filed by or against              Yes.      District                            When                     Case number
   the debtor within the last                                                                   MM / DD / YYYY
   8 years?                                         District                            When                     Case number
                                                                                                MM / DD / YYYY
   If more than 2 cases, attach a
   separate list.

10. Are any bankruptcy                    No
     cases pending or being               Yes.      Debtor See Attachment A                                      Relationship Affiliate
     filed by a business
                                                    District Southern District of New York                       When          Date Hereof
     partner or an affiliate of
                                                                                                                               MM / DD / YYYY
     the debtor?
                                                    Case number, if known Pending
     List all cases. If more than 1,
     attach a separate list.




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
 Debtor
          19-11633-mg      Doc 1 Filed 05/20/19
          Aegerion Pharmaceuticals Holdings, Inc.
                                                                        Entered 05/20/19 22:49:24   Main Document
                                                                                           Case number (if known) 19-
           Name                                                        Pg 3 of 20

 11. Why is the case filed in         Check all that apply:
      this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.
                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                          district.


 12. Does the debtor own or               No
      have possession of any              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
      real property or                    needed.
      personal property that
      needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                    safety.
                                                    What is the hazard?
                                                    It needs to be physically secured or protected from the weather.
                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).
                                                    Other


                                                 Where is the property?
                                                                            Number         Street




                                                                            City                                      State         ZIP Code


                                                 Is the property insured?
                                                    No
                                                    Yes. Insurance agency

                                                            Contact name

                                                            Phone


          Statistical and administrative information



 13. Debtor’s estimation of           Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.


                                          1-49                              1,000-5,000                                25,001-50,000
 14. Estimated number of
      creditors*                          50-99                             5,001-10,000                               50,001-100,000
                                          100-199                           10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets*
                                          $50,001-$100,000                  $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion



* Information provided on a consolidated basis, and based on financial statements as of March 31, 2019.



 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
Debtor
         19-11633-mg      Doc 1 Filed 05/20/19
         Aegerion Pharmaceuticals Holdings, Inc.
                                                                          Entered 05/20/19 22:49:24   Main Document
                                                                                             Case number (if known) 19-
          Name                                                           Pg 4 of 20

                                          $0-$50,000                          $1,000,001-$10 million                      $500,000,001-$1 billion
16. Estimated liabilities*
                                          $50,001-$100,000                    $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                   More than $50 billion

* Information provided on a consolidated basis, and based on financial statements as of March 31, 2019.

         Request for Relief, Declaration, and Signatures

WARNING --       Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                 $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17.   Declaration and                    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
      signature of                        this petition.
      authorized
      representative of                  I have been authorized to file this petition on behalf of the debtor.
      debtor
                                         I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.

                                      I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on       05 / 20 / 2019
                                                           MM / DD / YYYY



                                       /s/ John R. Castellano                                            John R. Castellano
                                          Signature of authorized representative of debtor                Printed name

                                          Title Chief Restructuring Officer


18. Signature of attorney              /s/ Paul V. Shalhoub                                              Date 05 / 20 / 2019
                                          Signature of attorney for debtor                                      MM / DD / YYYY

                                          Paul V. Shalhoub, Esq.
                                          Printed name

                                          Willkie Farr & Gallagher LLP
                                          Firm name

                                          787            Seventh Avenue
                                          Number         Street

                                          New York                                                                NY              10019
                                          City                                                                    State           ZIP Code

                                          (212) 728-8000                                        pshalhoub@willkie.com
                                          Contact phone                                         Email address

                                          2492858                                               New York
                                          Bar number                                            State




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
19-11633-mg      Doc 1     Filed 05/20/19     Entered 05/20/19 22:49:24         Main Document
                                             Pg 5 of 20


                      ATTACHMENT A TO VOLUNTARY PETITION

   1. Pending Bankruptcy Cases Filed by Affiliates of the Debtor

Concurrently herewith, each of the affiliated entities listed below, including the Debtor filing this
petition (collectively, the “Debtors”), filed a petition in this Court for relief under chapter 11 of
title 11 of the United States Code.

                 Aegerion Pharmaceuticals, Inc.
                 Aegerion Pharmaceuticals Holdings, Inc.

Contemporaneously with the filing of their voluntary petitions, the Debtors filed a motion
requesting that this Court consolidate their chapter 11 cases for procedural purposes only.

   2. Location of the Debtors’ Principal Assets (on a Consolidated Basis)
           a. Certain material contracts, which generate a significant portion of the Debtors’
              revenues, are governed by New York law and provide for venue in non-
              bankruptcy matters in New York.
           b. The Debtors’ funded debt is governed by New York law and provides for venue
              in non-bankruptcy matters in New York.
           c. The Debtors maintain bank accounts in New York City.
           d. The Debtors have funded retainers for certain professionals held in bank accounts
              located in New York City.
           e. The Debtors lease office space at the following location:
                           245 First Street, Riverview II
                           18th Floor
                           Cambridge, MA 02142
19-11633-mg        Doc 1      Filed 05/20/19        Entered 05/20/19 22:49:24              Main Document
                                                   Pg 6 of 20


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                 : Chapter 11
                                                       :
Aegerion Pharmaceuticals, Inc., et al.,1               : Case No. 19-__________ (       )
                                                       :
                           Debtor.                     : (Joint Administration Pending)
-------------------------------------------------------x

                         CONSOLIDATED LIST OF CREDITORS
                     HOLDING THE 30 LARGEST UNSECURED CLAIMS

        Set forth below is the list of creditors that hold, based upon information presently
available and belief, the thirty largest unsecured claims (the “Top 30 List”) against Aegerion
Pharmaceuticals, Inc. and Aegerion Pharmaceuticals Holdings, Inc. (collectively, the
“Debtors”). This list has been prepared based upon the books and records of the Debtors. The
Top 30 List was prepared in accordance with Rule 1007(d) of the Federal Rules of Bankruptcy
Procedure for filing in the Debtors’ chapter 11 cases. The Top 30 List does not include:
(1) persons who come within the definition of an “insider” as set forth in 11 U.S.C. § 101(31); or
(2) secured creditors, including those creditors with a right to setoff under applicable law, unless
the value of the collateral (or amount entitled to be offset) is such that the unsecured deficiency
places the creditor among the holders of the thirty (30) largest unsecured claims. The
information presented in the Top 30 List shall not constitute an admission by, nor is it binding
on, the Debtors. The information presented herein, including, without limitation: (a) the failure
of the Debtors to list any claim as contingent, unliquidated, disputed or subject to a setoff; or
(b) the listing of any claim as unsecured, does not constitute an admission by the Debtors that the
secured lenders listed hold any deficiency claims, nor does it constitute a waiver of the Debtors’
rights to contest the validity, priority, nature, characterization, and/or amount of any claim.

                                         [List appears on next page]




1
        The Debtors in these chapter 11 cases and the last four digits of each Debtor’s federal taxpayer
        identification number are Aegerion Pharmaceuticals, Inc. (0116), and Aegerion Pharmaceuticals Holdings,
        Inc. (1331). The Debtors’ executive headquarters are located at 245 First Street, Riverview II, 18th Floor,
        Cambridge, MA 02142.
             19-11633-mg           Doc 1       Filed 05/20/19        Entered 05/20/19 22:49:24                Main Document
                                                                    Pg 7 of 20

    Fill in this information to identify the case:

    Debtor name: Aegerion Pharmaceuticals, Inc., et al.

    United States Bankruptcy Court for the: Southern                  District of New York
                                                                                  (State)                                   Check if this is an
    Case number (if known): 19-                                                                                           amended filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30
    Largest Unsecured Claims and Are Not Insiders                                                                                           12/15
    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
    which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31).
    Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value
    places the creditor among the holders of the 30 largest unsecured claims.


Name of creditor and              Name, telephone number, and email      Nature of the   Indicate if     Amount of unsecured claim
complete mailing address,         address of creditor contact            claim (for      claim is
including zip code                                                       example,        contingent,     If the claim is fully unsecured, fill in only
                                                                         trade debts,    unliquidated,   unsecured claim amount. If claim is partially
                                                                         bank loans,     or disputed     secured, fill in total claim amount and
                                                                         professional                    deduction for value of collateral or setoff to
                                                                         services, and                   calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                         Total        Deduction      Unsecured claim
                                                                                                         claim, if    for value
                                                                                                         partially    of
                                                                                                         secured      collateral
                                                                                                                      or setoff




     The Bank of New York
     Mellon Trust Company,
                                  Michael Countryman
     N.A.
     Attn: Michael                                                                                                                   $304,079,722.22
1                                 Email:                                 Debt
     Countryman
                                  michael.countryman@bnymellon.c
     2 North LaSalle Street,
                                  om
     Suite 1020
     Chicago, IL 60602




     U.S. Department of
     Justice
                                  Shannon L. Pedersen                    Settlement
     Consumer Protection                                                                                                             $19,926,515.26
2    Branch                                                              Agreement
                                  Tel: (292) 532-4490
     450 5th St NW Rm
                                  Email: L.Pedersen@usdoj.gov
     6400-S
     Washington, DC 20001

     U.S. District Court of       Lucien Adam
     Massachusetts                                                       Settlement
                                                                                                                                     $3,284,263.88
3    Attn: Lucien Adam            Tel: (617) 748-9136                    Agreement
     1 Courthouse Way             Email:
     Boston, MA 02210             Lucien_Adam@mad.uscourts.gov




    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                       page 1
              19-11633-mg        Doc 1       Filed 05/20/19        Entered 05/20/19 22:49:24                Main Document
                                                                  Pg 8 of 20


Name of creditor and            Name, telephone number, and email      Nature of the   Indicate if     Amount of unsecured claim
complete mailing address,       address of creditor contact            claim (for      claim is
including zip code                                                     example,        contingent,     If the claim is fully unsecured, fill in only
                                                                       trade debts,    unliquidated,   unsecured claim amount. If claim is partially
                                                                       bank loans,     or disputed     secured, fill in total claim amount and
                                                                       professional                    deduction for value of collateral or setoff to
                                                                       services, and                   calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                       Total        Deduction      Unsecured claim
                                                                                                       claim, if    for value
                                                                                                       partially    of
                                                                                                       secured      collateral
                                                                                                                    or setoff
      Securities and
      Exchange Commission
                                Marc Jones                             Settlement
      Securities and                                                                                                               $1,167,906.16
4     Exchange Commission                                              Agreement
                                Tel: (617) 573-8947
      Attn: Dawn A. Edick
                                Email: jonesmarc@sec.gov
      100 F St., NE
      Washington, DC 20549


      Choate Hall & Stewart     Jack Cinquegrana                       Professional
      LLP                                                                                                                          $495,400.85
5                                                                      Services
      Two International Place   Tel: (617) 248-4002
      Boston, MA 02110          Email: rcinquegrana@choate.com


      Medicaid Fraud Control
      Unit of California        Saralyn M. Ang-Olson
      Office of the Attorney                                           Settlement
                                                                                                                                   $455,866.15
6     General                   Tel: (916) 621-1793                    Agreement
      2329 Gateway Oaks         Email:
      Drive, Suite 200          saralyn.angolson@doj.ca.gov
      Sacramento, CA 95833


      Delaney Kester LLP        Royston H. Delaney                     Settlement
      4505 Las Virgenes                                                                                                            $286,142.80
7                                                                      Agreement
      Road Suite 203            Tel: (857) 498-0384
      Calabasas, CA 91302       Email: rory@rorydelaney.com




      Medicaid Fraud Control
      Unit of Pennsylvania      Laurie A. Malone
      Office of the Attorney                                           Settlement
                                                                                                                                   $254,419.56
8     General                   Tel: (717) 783-1481                    Agreement
      1600 Strawberry           Email:
      Square                    lmalone@attorneygeneral.gov
      Harrisburg, PA 17120




      Veeva Systems, Inc.                                              Trade
                                Debra Lavender Barry                                                                               $249,525.00
      PO Box 740434                                                    Payable
9
      Los Angeles, CA
                                Email: debra.lavender@veeva.com
      90074-0434


      Medicaid Fraud Control
                                Keesha Mitchell
      Unit of Ohio
      Office of the Attorney                                           Settlement
                                Tel: (614) 466-0722                                                                                $136,803.14
10    General                                                          Agreement
                                Email:
      150 East Gay Street,
                                keesha.mitchell@ohioattorneygene
      17th Floor
                                ral.gov
      Columbus, OH 43215


     Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                       page 2
              19-11633-mg         Doc 1       Filed 05/20/19         Entered 05/20/19 22:49:24               Main Document
                                                                    Pg 9 of 20


Name of creditor and             Name, telephone number, and email      Nature of the   Indicate if     Amount of unsecured claim
complete mailing address,        address of creditor contact            claim (for      claim is
including zip code                                                      example,        contingent,     If the claim is fully unsecured, fill in only
                                                                        trade debts,    unliquidated,   unsecured claim amount. If claim is partially
                                                                        bank loans,     or disputed     secured, fill in total claim amount and
                                                                        professional                    deduction for value of collateral or setoff to
                                                                        services, and                   calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                        Total        Deduction      Unsecured claim
                                                                                                        claim, if    for value
                                                                                                        partially    of
                                                                                                        secured      collateral
                                                                                                                     or setoff
      Medicaid Fraud Control
      Unit of New York
                                 Amy Held                               Settlement
      Office of the Attorney                                                                                                        $120,984.12
11    General                                                           Agreement
                                 Tel: (212) 417-5250
      120 Broadway, 13th
                                 Email: amy.held@ag.ny.gov
      Floor
      New York, NY 10271
      Medicaid Fraud Control
      Unit of Indiana            Matthew Whitmire
      Office of the Attorney                                            Settlement
                                                                                                                                    $115,990.12
12    General                    Tel: (317) 915-5303                    Agreement
      8005 Castleway Drive       Email:
      Indianapolis, IN 46250-    matthew.whitmire@atg.in.gov
      1946
      Medicaid Fraud Control
      Unit of Kentucky
                                 Michelle Rudovich                      Settlement
      Office of the Attorney                                                                                                        $91,718.94
13    General                                                           Agreement
                                 Tel: (502) 696-5405
      1024 Capital Center
                                 Email: michelle.rudovich@ky.gov
      Drive
      Frankfort, KY 40601
      Arizona Health Care
      Cost Containment
      System Steve               Steve Duplissis                        Settlement
      Duplissis, Section Chief                                                                                                      $85,302.04
14                                                                      Agreement
      Arizona Attorney           Tel: (602) 542-3881
      General                    Email: steve.duplissis@azag.gov
      1275 W. Washington
      Phoenix, AZ 85007
      Medicaid Fraud Control
      Unit of Oklahoma
                                 Ms. Mykel Fry                          Settlement
      Office of the Attorney                                                                                                        $81,820.80
15    General                                                           Agreement
                                 Tel: (405) 522-2962
      313 N.E. 21st Street
                                 Email: mykel.fry@oag.ok.gov
      Oklahoma City, OK
      73105
      Medicaid Fraud Control
                                 James D. Varnado
      Unit of Florida
      Office of the Attorney                                            Settlement
                                 Tel: (850) 414-3488                                                                                $80,779.60
16    General                                                           Agreement
                                 Email:
      PL – 01 The Capitol
                                 james.varnado@myfloridalegal.co
      Tallahassee, Florida
                                 m
      32399

                                 Bill Kettlewell
      Hogan Lovells US LLP                                              Professional
                                                                                                                                    $69,859.80
17    1200 17th Street           Tel: (617) 371-1005                    Services
      Denver, CO 80202           Email:
                                 bill.kettlewell@hoganlovells.com




     Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                       page 3
              19-11633-mg          Doc 1       Filed 05/20/19       Entered 05/20/19 22:49:24                 Main Document
                                                                   Pg 10 of 20


Name of creditor and              Name, telephone number, and email      Nature of the   Indicate if     Amount of unsecured claim
complete mailing address,         address of creditor contact            claim (for      claim is
including zip code                                                       example,        contingent,     If the claim is fully unsecured, fill in only
                                                                         trade debts,    unliquidated,   unsecured claim amount. If claim is partially
                                                                         bank loans,     or disputed     secured, fill in total claim amount and
                                                                         professional                    deduction for value of collateral or setoff to
                                                                         services, and                   calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                         Total        Deduction      Unsecured claim
                                                                                                         claim, if    for value
                                                                                                         partially    of
                                                                                                         secured      collateral
                                                                                                                      or setoff

      Nutter, Mcclennen &
                                  Ian Roffman
      Fish, LLP                                                          Professional
      Seaport West                                                                                                                   $61,455.03
18                                Tel: (617) 439-2421                    Services
      155 Seaport Boulevard
                                  Email: iroffman@nutter.com
      Boston, MA 02110-
      2604

      Medicaid Fraud Control
      Unit of Michigan            David Tanay                            Settlement
      Office of the Attorney                                                                                                         $53,952.64
19                                                                       Agreement
      General                     Tel: (517) 241-6509
      2860 Eyde Parkway           Email: tanayd@michigan.gov
      East Lansing, MI 48823


      Clements & Pineault         Ben Clements
      LLP                                                                Professional
                                                                                                                                     $51,717.50
20    24 Federal Street, 3rd      Tel: (857) 445-0133                    Services
      Floor Boston, MA            Email:
      02110                       bclements@clementspineault.com



      State Of Indiana
      Rebates Indiana             Allison Taylor                         Rebates                                                     $46,054.35
21    Medicaid Drug Rebates
      26593 Network Places        Tel: (317) 233-4455
      Chicago, IL 60673



      Skillsoft Corporation       Penne Childs                           Professional
      300 Innovative Way,                                                                                                            $43,606.01
22                                                                       Services
      Suite 201                   Tel: (506) 462-1354
      Nashua, NH 03062            Email: penne.childs@skillsoft.com




      Mosaic Solutions            Rob Kime                               Trade
      Group, LLC 625 Molly                                                                                                           $43,600.00
23                                                                       Payable
      Lane, Suite 100             Tel: (678) 809-4407
      Woodstock, GA 30189         Email: rob.kime@mosaicsg.com


      Medicaid Fraud Control
      Unit of Nevada
                                  Mark N. Kemberling                     Settlement
      Office of the Attorney                                                                                                         $39,049.26
24    General                                                            Agreement
                                  Tel: (702) 486-3111
      555 East Washington
                                  Email: mkemberling@ag.nv.gov
      Ave., Ste. 3900
      Las Vegas, NV 89101




     Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                       page 4
              19-11633-mg        Doc 1        Filed 05/20/19      Entered 05/20/19 22:49:24                 Main Document
                                                                 Pg 11 of 20


Name of creditor and            Name, telephone number, and email      Nature of the   Indicate if     Amount of unsecured claim
complete mailing address,       address of creditor contact            claim (for      claim is
including zip code                                                     example,        contingent,     If the claim is fully unsecured, fill in only
                                                                       trade debts,    unliquidated,   unsecured claim amount. If claim is partially
                                                                       bank loans,     or disputed     secured, fill in total claim amount and
                                                                       professional                    deduction for value of collateral or setoff to
                                                                       services, and                   calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                       Total        Deduction      Unsecured claim
                                                                                                       claim, if    for value
                                                                                                       partially    of
                                                                                                       secured      collateral
                                                                                                                    or setoff
      Medicaid Fraud Control
      Unit of Texas             Stormy Kelly
      Office of the Attorney                                           Settlement
                                                                                                                                   $38,985.65
25    General                   Tel: (512) 371-4767                    Agreement
      6330 Hwy 290 East,        Email:
      Suite 250                 stormy.kelly@oag.texas.gov
      Austin, TX 78723

      Medicaid Fraud Control
      Unit of Wisconsin         Francis Sullivan                       Settlement
      Office of the Attorney                                                                                                       $35,543.68
26                                                                     Agreement
      General                   Tel: (608) 267-2222
      17 W. Main Street         Email: sullivanfx@doj.state.wi.us
      Madison, WI 53703


      Winter Wyman Finance      Mark Shaefer
      Contracting Inc.                                                 Trade
                                                                                                                                   $35,483.25
27    P.O. Box 845054           Tel: (781) 530-3118                    Payable
      Boston, MA 02284-         Email:
      5054                      mschaefer@winterwyman.com



      Valhalla Corp             David Giacobbe
      177 Western Ave.                                                 Trade
                                                                                                                                   $35,431.63
28    Suite 2                   Tel: (877) 874-3418                    Payable
      St. Johnsbury, VT         Email: info@valhalla-inc.com
      05819



      Porzio Life Sciences,
                                Frank Fazio                            Professional
      LLC                                                                                                                          $32,500.00
29    P.O. Box 1997                                                    Services
                                Tel: (973) 889-4202
      100 Southgate Parkway
                                Email: fazio@porziols.com
      Morristown, NJ 07962



      LibbyHoopes, P.C.         Tom Hoopes                             Professional
      399 Boylston Street                                                                                                          $32,225.40
30                                                                     Services
      Ste 200                   Tel: (617) 338-9300
      Boston, MA 02116          Email: thoopes@libbyhoopes.com




     Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                       page 5
19-11633-mg   Doc 1   Filed 05/20/19    Entered 05/20/19 22:49:24   Main Document
                                       Pg 12 of 20


                  MINUTES OF THE BOARD OF DIRECTORS

                                          OF

                      AEGERION PHARMACEUTICALS, INC.

                                         AND

               AEGERION PHARMACEUTICALS HOLDINGS, INC.
19-11633-mg     Doc 1    Filed 05/20/19    Entered 05/20/19 22:49:24        Main Document
                                          Pg 13 of 20


                                          Exhibit A

                            Approval of Transaction Documents

              WHEREAS, each entity set forth on Annex A attached hereto (each, a
“Company” and collectively, the “Companies”) is a wholly-owned subsidiary of Novelion
Therapeutics Inc. (“Novelion”);

                WHEREAS, as a result of the financial condition of the Companies, Aegerion
Pharmaceuticals, Inc. (“Aegerion”) has engaged counsel and financial advisors to provide advice
to the board of directors of each of the Companies (each, the “Governing Body”) regarding its
obligations to its creditors, equity holders, employees and other interested parties;

                 WHEREAS, each Governing Body, after having reviewed and considered the
options available to each Company, having consulted its counsel and financial advisors and
having received the recommendation of the restructuring committee of Aegerion, has determined
that, in its judgment, it is advisable and in the best interests of each Company, its creditors,
equity holders, employees and other interested parties that each Company voluntarily files a
petition (the “Petition” and, such cases, the “Bankruptcy Cases”) for relief under chapter 11 of
title 11 of the United States Code (the “Bankruptcy Code”);

                WHEREAS, in support of the Bankruptcy Cases, each Company intends to enter
into (i) that certain Restructuring Support Agreement, by and among the Companies, Amryt
Pharmaceuticals Plc (the “Plan Investor”), certain holders of the 2% unsecured convertible
notes issued by Aegerion, the lenders under Aegerion’s secured bridge loan facility, and
Novelion (the “Restructuring Support Agreement”), (ii) that certain Plan Funding Agreement,
by and among the Plan Investor and Aegerion (the “Plan Funding Agreement”), and (iii) that
certain Debtor-in-Possession Credit Agreement (the “DIP Credit Agreement”), by and among
Aegerion, as borrower, Aegerion Pharmaceuticals Holdings, Inc., as guarantor, the lenders from
time to time party thereto and Cantor Fitzgerald Securities, as administrative agent and as
collateral agent (the “DIP Agent”), each substantially in the form previously presented to the
Governing Body of each Company;

                 WHEREAS, in connection with the Bankruptcy Cases, Aegerion intends to enter
into an amendment to (i) that certain Master Service Agreement dated as of December 1, 2016,
but effective as of November 29, 2016, by and between Aegerion and Novelion Services USA,
Inc., and (ii) that certain Master Service Agreement dated as of December 1, 2016, but effective
as of November 29, 2016, by and between Aegerion and Novelion, in the form previously
presented to the Governing Body of Aegerion (the “SSA Amendment”);

               WHEREAS, in connection with the Bankruptcy Cases, the Companies intend to
file, in the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”), a plan of reorganization and the related disclosure statement, each
substantially in the forms attached to the Restructuring Support Agreement and previously
presented to the Governing Body of each Company (the “Plan” and, together with the
Restructuring Support Agreement, the Plan Funding Agreement, the DIP Credit Agreement, the
19-11633-mg      Doc 1     Filed 05/20/19    Entered 05/20/19 22:49:24          Main Document
                                            Pg 14 of 20


SSA Amendment and all exhibits, appendices and schedules to each and every one of the
foregoing documents and agreements, the “Transaction Documents”); and

                WHEREAS, after consultation with its counsel and financial advisors and upon
the recommendation of the restructuring committee of the Governing Body of Aegerion, each
Governing Body believes that it is advisable and in the best interests of each Company to enter
into, deliver and perform its obligations under the Transaction Documents.

               NOW THEREFORE, it is hereby:

          I.   The Bankruptcy Cases

              RESOLVED, that the filing by each Company of the Petition in the Bankruptcy
Court, be, and hereby is, authorized, approved, confirmed and adopted in all respects; and it is
further

               RESOLVED, that John R. Castellano be, and hereby is, appointed, ratified and
approved to serve as an authorized signatory of each Company for all purposes; and it is further

               RESOLVED, that each of the officers of each Company, including any president,
vice president, chief executive officer, chief financial officer, chief restructuring officer,
treasurer, or secretary (each of the foregoing, individually, an “Authorized Officer” and,
together, the “Authorized Officers”) be and they hereby are authorized, empowered and
directed to execute and file the Petition on behalf of each Company in order to seek relief under
chapter 11 of the Bankruptcy Code in the Bankruptcy Court; and it is further

                 RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed, in the name and on behalf of each Company, to execute and
file all petitions, schedules, motions, lists, applications, pleadings, declarations, affidavits and
other papers as required to accompany the Petition or seek entry of first day orders; and it is
further

                RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed, in the name and on behalf of each Company, to execute and
file all schedules, motions, lists, applications, pleadings, declarations, affidavits and other papers
as required to accompany the Petition or seek entry of first day orders, and, in connection
therewith, to employ and retain assistance of legal counsel, accountants, financial advisors and
other professionals, and to take and perform any and all further acts and deeds that they deem
necessary, proper or desirable in connection with, or in furtherance of, the Petition or the
Bankruptcy Cases, with a view to the successful prosecution of such cases; and it is further

               RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to employ the law firm of Willkie Farr & Gallagher LLP,
located at 787 Seventh Avenue, New York, New York 10019, as bankruptcy counsel to render
legal services to, and to represent, each Company in the Bankruptcy Cases and in any and all
related proceedings, subject to the Bankruptcy Court approval; and it is further


                                                  2
19-11633-mg     Doc 1     Filed 05/20/19    Entered 05/20/19 22:49:24       Main Document
                                           Pg 15 of 20



              RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to employ AP Services, LLC, located at 300 N. LaSalle
Street, Suite 1900, Chicago, Illinois 60654, as restructuring advisor for the Company in
connection with the Bankruptcy Cases, subject to the Bankruptcy Court approval; and it is
further

               RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to employ Moelis & Company, located at 399 Park Avenue,
5th Floor, New York, New York 10022, as financial advisor for each Company in the Bankruptcy
Cases, subject to the Bankruptcy Court approval; and it is further

              RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to employ Prime Clerk LLC, located at 830 Third Avenue,
3rd Floor, New York, New York 10022, as claims, noticing, and solicitation agent for each
Company in the Bankruptcy Cases, subject to the Bankruptcy Court approval; and it is further

               RESOLVED, that each of the Authorized Officers be and they hereby are
authorized, empowered and directed to retain on behalf of each Company such other
professionals and advisors as they deem necessary, appropriate or desirable, upon such terms and
conditions as they shall approve, to render services to each Company in connection with the
Bankruptcy Cases and with respect to other related matters in connection therewith, subject to
the Bankruptcy Court approval, if required; and it is further

        II.   The Transaction Documents

               RESOLVED, that the form, terms and provisions of each Transaction Document
(including the DIP Credit Agreement and the other Loan Documents (as hereinafter defined)),
including, without limitation, any exhibits, appendices and schedules thereto, all transactions
contemplated thereby (including the payments to be made pursuant to the SSA Amendment) and
all actions taken by the Authorized Officer(s) in connection therewith be, and hereby are,
authorized, approved and ratified in all respects with such modifications, changes, additions and
deletions thereto as may be approved or deemed necessary, desirable, convenient, advisable or
appropriate by an Authorized Officer executing the same, the execution thereof by such
Authorized Officer to be conclusive evidence of such approval, necessity, desirability,
convenience, advisability or appropriateness; and be it further

               RESOLVED, that the execution and delivery of each Transaction Document
(including the DIP Credit Agreement and the other Loan Documents) and the performance by
each Company of its obligations thereunder, including the granting, ratification or reaffirmation
of any security interest, mortgage or lien, or the provision of any guarantee, as applicable, in
each case, as contemplated by or in connection with the DIP Credit Agreement, the other Loan
Documents and the other Transaction Documents, hereby are expressly authorized, adopted,
confirmed, ratified and approved, and such approval is intended to and shall constitute all
authorization and approval required by each Governing Body; and it is further



                                               3
19-11633-mg      Doc 1    Filed 05/20/19    Entered 05/20/19 22:49:24          Main Document
                                           Pg 16 of 20


               RESOLVED, that each of the Authorized Officers be and they hereby are
authorized to execute, deliver and perform, or cause to be executed, delivered and performed, as
applicable from time to time, in the name of and on behalf of each Company, the DIP Credit
Agreement and various other documents, agreements, instruments, questionnaires, papers or
writings, as such Authorized Officer determines are necessary, convenient, advisable,
appropriate or desirable to effect execution, delivery and performance of the DIP Credit
Agreement and the transactions contemplated thereunder as intended by these resolutions,
including but not limited to, any UCC financing statements and other instruments, stock powers,
bond powers, unit powers, powers of attorney, side letters, notary letters, allonges, waivers,
documents, certificates, consents, assignments, notices, affidavits, certificates of officers
(including secretary’s certificates) and other certificates, control agreements, intellectual
property grants, guarantees, pledge agreements and other pledge documents, security agreements
and other security documents, ratification agreements and agreements contemplated thereby or
executed and delivered in connection therewith (collectively, the “Loan Documents”), in each
case, with such changes, additions, modifications, and terms as the Authorized Officer(s)
executing the Loan Documents shall approve, with such Authorized Officer’s execution thereof
to be deemed conclusive evidence of such approval, and in each case and in connection
therewith, with all amendments, amendments and restatements, supplements, renewals,
extensions, modifications, substitutions and replacements thereof and each other agreement now
existing or hereafter created providing collateral security for payment or performance of the
obligations thereunder; and it is further

               RESOLVED, that each of the Authorized Officers are hereby authorized,
directed and empowered, for and on behalf of and in the name of each Company to assign,
hypothecate, set over, grant security interests in or grant a continuing security interest in,
mortgage or pledge any or all of the assets and properties of each Company, real, personal or
mixed, tangible or intangible, now owned or hereafter acquired, and all proceeds of the
foregoing, to the DIP Agent as security for the obligations under the DIP Credit Agreement and
the other Loan Documents; and it is further

               RESOLVED, that to the extent that the approval of each Company in its capacity
as a stockholder, shareholder, equity holder, managing member, sole member, general partner,
limited partner or member of any person is required for each Company or any such other person
to execute, deliver and perform any of its obligations (including the grant of a lien on its assets)
under the DIP Credit Agreement, the other Loan Documents or the other Transaction
Documents, each Company hereby consents thereto; and it is further

                 RESOLVED, that each of the Authorized Officers is authorized to make,
execute, file and deliver any and all consents, certificates, documents, instruments, amendments,
papers or writings as may be required in connection with or in furtherance of any of the
foregoing, and to do any and all other acts necessary or desirable to effectuate the foregoing
resolutions, the execution and delivery thereof by such Authorized Officer(s) to be deemed
conclusive evidence of the approval by each Company of the terms, provisions and conditions
thereof; and it is further




                                                 4
19-11633-mg      Doc 1    Filed 05/20/19    Entered 05/20/19 22:49:24        Main Document
                                           Pg 17 of 20


                RESOLVED, that any and all past actions heretofore lawfully taken by any
officers, directors, members or any authorized persons acting under similar authority, as the case
may be, of each Company in the name and on behalf of each Company in furtherance of any or
all of the preceding resolutions are hereby ratified, confirmed, adopted and approved in all
respects.

       III.    Miscellaneous

               RESOLVED, that John Castellano be, and hereby is, designated as the Treasurer
of each Company, to hold such office until his resignation or removal therefrom, and any person
acting as Treasurer of either Company as of the date hereof be and hereby is removed from such
office and be and hereby is designated as an Assistant Treasurer of each Company; and be it
further

                RESOLVED, that each of the Authorized Officers is authorized to make,
execute, file and deliver any and all consents, certificates, documents, instruments, amendments,
papers or writings as may be required in connection with or in furtherance of any of the
foregoing, and to do any and all other acts necessary or desirable to effectuate the foregoing
resolutions, the execution and delivery thereof by such Authorized Officer(s) to be deemed
conclusive evidence of the approval by each Company of the terms, provisions and conditions
thereof.




                                                5
19-11633-mg    Doc 1    Filed 05/20/19    Entered 05/20/19 22:49:24   Main Document
                                         Pg 18 of 20


                                      Annex A

   1. Aegerion Pharmaceuticals, Inc.
   2. Aegerion Pharmaceuticals Holdings, Inc.
19-11633-mg         Doc 1      Filed 05/20/19      Entered 05/20/19 22:49:24      Main Document
                                                  Pg 19 of 20


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                 :   Chapter 11
                                                       :
Aegerion Pharmaceuticals Holdings, Inc.,               :   Case No. 19-__________ (         )
                                                       :
                           Debtor.                     :   (Joint Administration Pending)
-------------------------------------------------------x

            LIST OF EQUITY HOLDERS AND CORPORATE OWNERSHIP
         STATEMENT OF AEGERION PHARMACEUTICALS HOLDINGS, INC.
             PURSUANT TO BANKRUPTCY RULES 1007(a)(3) AND 7007.1

       Aegerion Pharmaceuticals Holdings, Inc. is a wholly-owned subsidiary of Aegerion
Pharmaceuticals, Inc., which is a wholly owned subsidiary of QLT Plug Delivery, Inc., which is
a wholly-owned subsidiary of Novelion Services USA, Inc., which is a wholly owned subsidiary
of Novelion Therapeutics Inc.

       As of the Petition Date, EdgePoint Investment Group Inc. is the only entity that owns ten
percent (10%) or more of Novelion Therapeutics Inc.’s equity interests.
      19-11633-mg               Doc 1         Filed 05/20/19         Entered 05/20/19 22:49:24                            Main Document
                                                                    Pg 20 of 20
Fill in this information to identify the case and this filing:

Debtor Name Aegerion Pharmaceuticals Holdings, Inc.
United States Bankruptcy Court for the: Southern        District of New York
                                                                      (State)
Case number (If known): 19-



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                         12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.

               Declaration and signature
            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.
            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:

                       Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                       Schedule H: Codebtors (Official Form 206H)


                       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                       Amended Schedule ______


                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
                       Insiders (Official Form 204)

                       Other document that requires a declaration: List of Equity Holders and Corporate Ownership Statement Pursuant
                       to Bankruptcy Rules 1007(a)(3) and 7007.1


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 05 / 20 / 2019
                            MM / DD / YYYY                                      /s/ John R. Castellano
                                                                                Signature of individual signing on behalf of debtor

                                                                                John R. Castellano
                                                                                Printed name

                                                                                Chief Restructuring Officer
                                                                                Position or relationship to debtor
